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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

     TAVARES DOCHER, by and through                                       CASE NO.: 2:16cv14413
     JANICE DOCHER-NEELEY, his mother
     and legal guardian,

                    Plaintiffs,

     vs.

     CHRISTOPHER NEWMAN, individually,
     CLAYLAN MANGRUM, individually,
     CALVIN ROBINSON, individually, WADE
     COURTEMANCHE, individually, KEN J.
     MASCARA, as SHERIFF of ST. LUCIE
     COUNTY, Florida, JOSE ROSARIO,
     individually, and the ST. LUCIE COUNTY
     FIRE DISTRICT, an independent special
     district,

                 Defendants.
     ________________________________________/

            REPLY MEMORANDUM IN SUPPORT OF DEFENDANT SHERIFF’S
                    MOTION FOR SUMMARY JUDGMENT [DE84]

            The Defendant, KEN J. MASCARA, in his official capacity as Sheriff of St. Lucie

     County Florida, files this his Reply Memorandum in support of his Motion for Summary

     Judgment [DE 84], and would state as follows:

            In Plaintiff’s response to the Defendant Sheriff’s Motion for Summary Judgment,

     Plaintiff argues the question of whether the Sheriff is immune from suit pursuant to Florida’s

     statutory waiver of sovereign immunity, Fla. Stat. §768.28 (2014) must be submitted to the jury.

     However, the issue of sovereign immunity is a secondary issue to the Defendant Sheriff’s


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     entitlement to summary judgment. To the extent this Court finds the Plaintiff’s detention was

     lawful, the Defendant Sheriff would be entitled to summary judgment on Plaintiff’s state law

     false arrest claim. Likewise, to the extent this Court finds that the deputies’ uses of force were

     reasonable, the Defendant Sheriff would be entitled to summary judgment on Plaintiff’s state law

     excessive force claim. Thus the question of whether the deputies acted in bad faith such that they

     would be divested of the protections of Florida’s sovereign immunity statute which would

     conversely immunize the sheriff, would only be relevant if this Court finds that the Plaintiff’s

     detention was not lawful and/or the deputies’ use of force was not reasonable. For the reasons

     stated in the deputy Defendants’ Motions for Summary Judgment and Replies in support thereof,

     Plaintiff’s detention was supported by reasonable suspicion and probable cause and the deputies’

     uses of force were reasonable.

            The Defendant Sheriff respectfully requests summary judgment be granted in his favor

     as to Count XIII and Count XV.




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                                 CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the
     Court using the CM/ECF and furnished via email a copy to: ADAM S. HECHT, ESQUIRE,
     Searcy Denney Scarola Barnhart & Shipley, P.A., 2139 Palm Beach Lakes Boulevard, West
     Palm Beach, Florida 33409, ash@searcylaw.com, axs@searcylaw.com; mal@searcylaw.com;
     jcx@searcylaw.com, HUGH L. KOERNER, ESQUIRE, Hugh L. Koerner, P.A., Sheridan
     Executive Centre, 3475 Sheridan Street, Suite 208, Hollywood, FL 33021,
     hlklaw@hughkoerner.com, and BENJAMIN W. NEWMAN, ESQUIRE, Wilson Elser
     Moskowitz Edelman & Dicker, LLP, 111 N. Orange Ave., Suite 1200, Orlando, FL 32801,
     ben.newman@wilsonelser.com; julie.tyk@wilsonelser.com this 2nd day of November, 2017.

                                       PURDY, JOLLY, GIUFFREDA & BARRANCO, P.A.
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                                       Courtemanche and Sheriff
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                                       BY       s/ Summer M. Barranco
                                              SUMMER M. BARRANCO
                                              Fla. Bar No. 984663




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